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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MISSOURI
                               EASTERN DIVISION

STATE OF MISSOURI, et al.,                     )
                                               )
           Plaintiffs,                         )
                                               )
      v.                                       )   No. 4: 21 CV 1300 DDN
                                               )
JOSEPH R. BIDEN, JR., et al.,                  )
                                               )
           Defendants.                         )

                    ORDER STAYING ACTION PENDING APPEAL
       On January 14, 2022, defendants filed a Notice of Appeal from the preliminary
injunction issued in this action on December 20, 2021 (Doc. 36). Therefore,
       IT IS HEREBY ORDERED that the unopposed motion of defendants to stay
further proceedings in this action pending final disposition of defendants’ appeal (Doc. 44)
is sustained. Until final disposition of this appeal, the parties are relieved of filing a joint
scheduling plan and further proceedings in this action are stayed.




                                                     /s/ David D. Noce    k
                                            UNITED STATES MAGISTRATE JUDGE

Signed on January 18, 2022.
